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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 14-CV-24887- LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
                                /

                                                    ORDER
          This cause comes before the Court on Applicants Hornbeam Corporation’s (“Hornbeam”),

  Vadim Shulman, and Bracha Foundation (collectively “Applicants”) Motion to Further Extend the

  Deadline for the Destruction of Responsive Materials (ECF No. 335). Halliwel Assets, Inc.,

  Panikos Symeou, and Subpoena Respondents1 (collectively “Respondents”) responded in

  opposition to the extension (ECF No. 337), to which Hornbeam replied (ECF No. 340). While it

  was pending, Applicants filed a Motion to Amend Stipulated Protective Order (ECF No. 355) and

  Respondents moved to Compel Compliance with the Stipulated Protective Order and for an Order

  to Show Cause Why the Hornbeam Parties Should Not be Held in Contempt and Pay Attorneys’

  Fees (ECF No. 356). The matters being fully briefed, and the Court being otherwise duly advised

  in the matters, the Motions are ripe for disposition.

          The facts of this case are well known to the parties and fully developed elsewhere in the

  record. This matter stems from an underlying 28 U.S.C. § 1782 proceeding though which

  Applicants sought to obtain discovery from Respondents for use in contemplated litigation in the

  British Virgin Isles (“BVI Litigation”). During the course of the proceedings, this Court entered a


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    Mordechai Korf, Felman Trading Inc., Felman Production LLC, Optima International of Miami, Inc., Optima Fixed
  Income LLC, Optima Industrial Management, LLC, Georgia American Alloys Inc., Optima Specialty Steel, Inc. (now
  known as Specialty Steel Works, Inc.), Optima Ventures LLC, Optima Acquisitions LLC, Optima Group, LLC,
  Optima Highland LLC, 5251 36st LLC, CC Metals & Alloys LLC, and Felman Production Inc.

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  Stipulated Protective Order (“SPO”) (ECF No. 224) that was then modified (ECF No. 318). As it

  pertains to this Motion, the SPO laid out the process by which the discovery materials would be

  disposed of, should the BVI litigation never come to fruition or otherwise end. It states in Section

  15(c):

           The Responsive Materials must be destroyed if Hornbeam does not initiate the BVI
           Litigation within one year of the date of issuance of this Amended Protective Order.
           The one-year period shall be tolled during any time period this Court or the United
           States Court of Appeals for the Eleventh Circuit stays the use of the Responsive
           Materials. Any Party may request an extension of this one-year deadline by Motion
           to this Court, and non-requesting party can object by letter within three business
           days.
  (ECF No. 224). That Order was signed and filed on July 12, 2018. Therefore, the original date by

  which the discovery materials had to be destroyed was July 12, 2019. On July 11, 2019, a day

  before the contemplated destruction date, Applicants moved to extend the destruction date by 30

  days until August 12, 2019 (ECF No. 327). In their Motion, Applicants requested an extension of

  one month to consider further possible future use of the discovered materials. Applicants also

  expected a transition of counsel, so it would be necessary to consult with new counsel on

  Applicants’ options. Additionally, the Motion noted that there were several decisions pending at

  the appellate level. The Motion was not opposed by Respondents. The Court granted the extension

  and extended the deadline by which destruction was required to occur until August 12, 2019 by

  modifying the existing SPO (ECF No. 328).

           On August 9, 2019, the last business day before August 12, 2019, Applicants again moved

  for an extension of time by which they must destroy the discovered materials (ECF No. 335). In

  this Motion they again averred that they were awaiting replacement counsel for advice on options

  in the future with regards to the discovered material, there were still pending decisions before the

  Eleventh Circuit Court of Appeals, and that the litigation landscape had changed. The Court notes

  that all pending appeals have concluded and new litigation counsel has appeared. Therefore, the

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  only non-moot argument is that the litigation landscape has changed.

          Respondents opposed this extension (ECF No. 337). In their Response, they aver that the

  Motion was out of time, that it failed to establish good cause, that it fails to detail the “alleged

  shifting landscape,” that the pending appeal was irrelevant, and that Hornbeam had violated the

  SPO by providing responsive materials to third parties.

          Applicants filed their Reply to the Response (ECF No. 340) averring that they had timely

  requested an extension of time, they had demonstrated good cause for the extension, that the SPO

  allowed for modification, the SPO allowed the Eleventh Circuit to toll the destruction deadline,

  and that Respondents would not be prejudiced by such an extension.

          After the briefing on this matter had completed, the Eleventh Circuit issued its opinion

  regarding these proceedings. The Eleventh Circuit held that:

          Given Hornbeam’s recent concession that legal proceedings in the British Virgin
          Islands will not be instituted, the discovery allowed by the district court is not for
          use in a foreign proceeding. See In Re Clerici, 481 F.3d 1324, 1331-32 (11th Cir.
          2007). We therefore vacate the § 1782 order being appealed, see D.E. 209, and
          remand for the district court to decide in the first instance whether the discovery
          already obtained should be destroyed as appellants request.
  In re Hornbeam Corp., 790 F. App’x 199, 201 (11th Cir. 2020).2 Thus, the question currently

  pending before this Court is whether Hornbeam should be permitted not to destroy the discovered

  materials.

          The Court required the Applicants to file a status report in January of 2020 to address

  whether the materials had since been destroyed because “the existing record does not reveal

  whether the motion is moot or remains at issue” (ECF No. 349). Applicants then filed the required

  Notice indicating that the Responsive Materials had not been destroyed and that they would be


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    Although Applicants averred that the extension should be granted because the Eleventh Circuit could toll the
  destruction deadline, the Eleventh Circuit did not toll the deadline and in fact vacated the Order authorizing the
  discovery.

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  asking the Court for leave to utilize the Responsive Materials. (ECF No. 351). Thereafter,

  Applicants filed a Motion to Amend the SPO (ECF No. 355). In that Motion they aver that although

  they have abandoned filing suit in the BVI, they instead were joining an action against many of

  the same entities in this action in Delaware (ECF No. 355 at 7). They aver that the interests of

  justice dictate that they should be allowed to use the discovery so far collected to further their suit

  in Delaware. They state that “[f]ederal courts have ruled that documents obtained in a § 1782

  proceeding may be used in a proceeding initiated in the United States.” (ECF No. 355 at 8).

  Applicants rely on Glock v. Glock, Inc., 797 F.3d 1002, 1009 (11th Cir. 2015) for the proposition

  that evidence obtained in a § 1782 proceeding does not preclude the use of that evidence in

  subsequent litigation in the United States. Additionally, Applicants aver that good cause exists to

  allow them to use the materials for use in the Delaware proceedings because requiring them to

  rediscover the same documents already produced would discredit the efforts by the parties and the

  Court in bringing to light documents which “no doubt” will be relevant in the legal proceedings

  (ECF No. 355 at 10).3

           Respondents filed a motion to compel compliance with the SPO and for an order to show

  cause why Applicants should not be held in contempt (ECF No. 356). In their Motion they seek

  first to have the Applicants destroy the responsive materials within 7 days of an order from this

  Court; and second, for the Court to hold Applicants in contempt for failing to adhere to the terms

  of the SPO.

           In order to extend the destruction deadline, this Court would need to modify or vacate the

  current SPO. As a general matter, there is no definitive test to modify a protective order in the



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   The Court notes that the discovered material reportedly has never been seen by Applicants’ current counsel, as it has
  been held and maintained by Applicants’ former counsel. Therefore, the Motion does not explain how current counsel
  could evaluate its relevance.

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  Eleventh Circuit. Santiago v. Honeywell Int’l, Inc., No. 16-CIV-25359, 2017 WL 3610599, at *2

  (S.D. Fla. Apr. 6, 2017). However, in this District, there is a “strong presumption against

  modification of a protective order.” Id. at *3. Applicants contend that the extension should be

  granted because the SPO states that this Court has the authority to modify or amend the SPO.

         One of the factors the Court should consider is the reliance placed by the parties on the

  SPO. Id. (citing Pansy v. Borough of Stroudsburg, 23 F.3d 772, 790 (3d Cir. 1994)). Here,

  Respondents placed their reliance on the SPO. They agreed with Applicants that should the BVI

  litigation not come to fruition, the discovered materials would be destroyed. As noted by the

  Eleventh Circuit, the BVI litigation is no longer contemplated and the Order granting the materials

  be discovered has been vacated. Other proceedings in this record further demonstrate the specific

  reliance Respondents have placed on the SPO in making disclosures protected by the SPO for

  which Respondents would have otherwise sought a protective order (ECF No. 309). By the express

  terms of the SPO, because that BVI Litigation is no longer proceeding nor is it even any longer

  contemplated, the materials should be destroyed.

         Applicants aver in their Reply (ECF No. 340) and in their Motion to Amend (ECF No. 355)

  that they would be severely prejudiced if required to comply with the SPO as it would limit their

  ability to proceed with their claim, attaching a complaint which was filed in Delaware for which

  they seek leave to amend (ECF No. 355-1). Additionally, they claim that Respondents would suffer

  no prejudice by allowing the retention of the responsive materials.

         Respondents argue that they would suffer prejudice if the documents are not destroyed

  because Applicants, specifically Shulman, has threatened to release the materials in violation of

  the SPO if he was not paid. Additionally, they claim that Applicants should be required to adhere

  to the SPO to “vindicate its authority, and effectuate its decrees.” (ECF No. 356 at 7).



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         As movants here, Applicants have failed to show good cause for amendment of the SPO.

  While the ends of justice and judicial economy are important, the Court finds that it is outweighed

  by Respondents reliance on and agreement to the SPO. If the Court were to allow parties to

  unilaterally not follow the terms of a stipulated protective order it would erode the confidence

  which parties place in the orders when the parties agree to adhere to them. See State ex rel.

  Butterworth v. Jones Chemicals, Inc. (Fla.), 148 F.R.D. 282, 288 (M.D. Fla. 1993) (“Failure to

  protect Defendants’ reliance on the Protective Order would not only prejudice the confidentiality

  interests of Defendants, it would undermine the effectiveness of protective orders in facilitating

  discovery.”) (footnote omitted).

         Applicants cite Glock v. Glock, Inc., 797 F.3d 1002, 1009 (11th Cir. 2015) in their Motion

  to Amend for the proposition that the Eleventh Circuit has indicated its leaning toward a permissive

  attitude about the use of responsive materials to a § 1782 Application. However, Glock simply

  stands for the non-controversial proposition that evidence discovered through § 1782 proceedings

  is not categorically prohibited from being used in domestic proceedings solely on the grounds that

  it was so obtained. id. The court in Glock recognized a court’s right to amend a stipulated protective

  order, but the case does not stand for the proposition that the court should amend an agreed upon

  stipulated protective order to defeat the confidentiality and use limitation negotiated and relied

  upon by the parties.

          For the foregoing reasons, the Court DENIES Applicants’ Motion to Further Extend the

  Deadline for the Destruction of Responsive Materials (ECF No. 335) and Applicants’ Motion to

  Amend Stipulated Protective Order (ECF No. 355).

         On the issue of contempt, Respondents aver that Applicants should be ordered to show

  cause why they should not be held in contempt for failing to destroy the responsive materials and



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   should be fined for their failure. Under this Circuit’s law, to hold a party in civil contempt there

   must be a showing by clear and convincing evidence that 1) the allegedly violated order was valid

   and lawful, 2) the order was clear and unambiguous, 3) the alleged violator had the ability to

   comply with the order. See Georgia Power Co. v. N.L.R.B., 484 F.3d 1288, 1291 (11th Cir. 2007).

   While the Court ultimately has held that good cause does not exist to extend the deadline by which

   Applicants were required to destroy the deadline, given the history of this case, the fact that the

   materials were held exclusively by Applicants’ former counsel, and the pending appeals and cross

   motions, the Court does not find that an order to show cause is warranted or that any fine should

   be imposed so long as Applicants complies with the destruction of materials as outlined below.

          The SPO does state that any Party may request an extension of the one-year destruction

   period by motion to this Court and does not specify what should happen to the documents while

   such a request is pending (ECF No. 224 at 11). Given the lack of clear and concise language on

   such an issue, although the extension has been denied and the documents are now unambiguously

   being ordered to be destroyed, the SPO was not so unambiguous as to require Applicants to show

   cause why they should not be held in contempt pending the resolution of its motions. As such,

   Respondents Motion to Compel Compliance with the Stipulated Protective Order and for an Order

   to Show Cause Why the Hornbeam Parties Should Not be Held in Contempt and Pay Attorneys’

   Fees (ECF No. 356) is GRANTED to the extent it seeks to compel Applicants to comply with the

   SPO and destruction of the discovered materials and DENIED to the extent it seeks a order to

   show cause.

          Therefore, it is hereby ORDERED AND ADJUDGED as follows:

1. Applicants’ Motion to Further Extend the Deadline for the Destruction of Responsive Materials

   (ECF No. 335) is DENIED.



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2. Applicants’ Motion to Further Extend the Deadline for the Destruction of Responsive Materials

   (ECF No. 335) is likewise DENIED.

3. Respondents’ Motion to Compel Compliance with the Stipulated Protective Order and for an Order

   to Show Cause Why the Hornbeam Parties Should Not be Held in Contempt and Pay Attorneys’

   Fees (ECF No. 356) is GRANTED in part and DENIED in part.

4. Applicants shall destroy all documents collected and retained as part of this § 1782 proceeding

   within 14 days of the entry of this Order, and Applicants shall certify to this Court compliance on

   the date it is completed.

          DONE AND ORDERED in Chambers this 17th day of March 2020.




                                                        LAUREN LOUIS
                                                        UNITED STATES MAGISTRATE JUDGE




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